Case 2:05-cr-02099-RHW   ECF No. 669   filed 08/03/10   PageID.3787 Page 1 of 5
Case 2:05-cr-02099-RHW   ECF No. 669   filed 08/03/10   PageID.3788 Page 2 of 5
Case 2:05-cr-02099-RHW   ECF No. 669   filed 08/03/10   PageID.3789 Page 3 of 5
Case 2:05-cr-02099-RHW   ECF No. 669   filed 08/03/10   PageID.3790 Page 4 of 5
Case 2:05-cr-02099-RHW   ECF No. 669   filed 08/03/10   PageID.3791 Page 5 of 5
